   Case 1:24-cv-03285-SHS-OTW             Document 110        Filed 07/08/24      Page 1 of 2




                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK



  DAILY NEWS, LP; CHICAGO TRIBUNE
  COMPANY, LLC; ORLANDO SENTINEL
  COMMUNICATIONS COMPANY, LLC; SUN-
  SENTINEL COMPANY, LLC; SAN JOSE
  MERCURY- NEWS, LLC; DP MEDIA
  NETWORK, LLC; ORB PUBLISHING, LLC; and
  NORTHWEST PUBLICATIONS, LLC,                               Case No. 1:24-cv-03285-SHS

                         Plaintiffs,

            v.

  MICROSOFT CORPORATION, OPENAI, INC.,
  OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
  OPENAI OPCO, LLC, OPENAI GLOBAL, LLC,
  OAI CORPORATION, LLC, and OPENAI
  HOLDINGS, LLC,
                  Defendants.



                       NOTICE OF SUPPLEMENTAL AUTHORITY

       Microsoft Corporation respectfully submits this notice of supplemental authority in

support of its motion to dismiss the Complaint. As explained in Microsoft’s reply brief in

support of its Motion, a recent decision from the Northern District of California conclusively

rejected a DMCA § 1202 challenge to GitHub and Microsoft’s Copilot generative AI coding tool.

See ECF No. 105 at 5 & n.3 (citing Doe 1 v. GitHub, No. 22-cv-06823-JST (N.D. Cal. June 24,

2024), ECF No. 253). That order has now been unsealed and is attached hereto as Exhibit 1.




                                                1
  Case 1:24-cv-03285-SHS-OTW   Document 110         Filed 07/08/24    Page 2 of 2




Dated: New York, New York                Respectfully submitted,
       July 8, 2024                      Orrick, Herrington & Sutcliffe LLP
                               By:
                                         /s/ Annette L. Hurst
                                         Annette L. Hurst (Pro Hac Vice)
                                         The Orrick Building
                                         405 Howard Street
                                         San Francisco, CA 94105-2669
                                         Telephone: (415) 773-5700
                                         Facsimile: (415) 773-5759
                                         ahurst@orrick.com
                                         Christopher J. Cariello
                                         51 West 52nd Street
                                         New York, NY 10019
                                         Telephone: (212) 506-3778
                                         ccariello@orrick.com

                                         Sheryl Koval Garko (Pro Hac Vice)
                                         222 Berkley Street
                                         Boston, MA 02116
                                         Telephone: (617) 880-1800
                                         sgarko@orrick.com

                                         Laura Brooks Najemy (Pro Hac Vice)
                                         222 Berkley Street
                                         Boston, MA 02116
                                         Telephone: (617) 880-1800
                                         lnajemy@orrick.com

                                         Attorneys for Defendant
                                         Microsoft Corporation




                                     2
